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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

JUSTAN ADAMS,                               )
                                            )
               Plaintiff                    )
                                            )
v.                                          )      1:18-cv-00446-NT
                                            )
PENOBSCOT COUNTY JAIL,                      )
                                            )
               Defendant                    )


                          RECOMMENDED DECISION AFTER
                        REVIEW PURSUANT TO 28 U.S.C. § 1915A

        Plaintiff, an inmate at the Penobscot County Jail, filed this action in which he

evidently questions the circumstances resulting in his incarceration, and alleges his civil

rights were violated.

        Because Plaintiff is “a prisoner seek[ing] redress from a governmental entity or officer

or employee of a governmental entity,” Plaintiff’s complaint is subject to screening “before

docketing, if feasible or … as soon as practicable after docketing,” 28 U.S.C. § 1915A(a).

        After a review of Plaintiff’s filing, I recommend the Court dismiss the matter.

                                         DISCUSSION

        The § 1915A screening requires courts to “identify cognizable claims or dismiss the

complaint, or any portion of the complaint, if the complaint (1) is frivolous, malicious, or

fails to state a claim …; or (2) seeks monetary relief from a defendant who is immune from

such relief.” 28 U.S.C. § 1915A(b).

        When considering whether a complaint states a claim for which relief may be granted,
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courts must assume the truth of all well-pled facts and give the plaintiff the benefit of all

reasonable inferences therefrom. Ocasio-Hernandez v. Fortuno-Burset, 640 F.3d 1, 12 (1st

Cir. 2011). A complaint fails to state a claim upon which relief can be granted if it does not

plead “enough facts to state a claim to relief that is plausible on its face.” Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 570 (2007). “The relevant question ... in assessing plausibility is

not whether the complaint makes any particular factual allegations but, rather, whether ‘the

complaint warrant[s] dismissal because it failed in toto to render plaintiffs’ entitlement to

relief plausible.’” Rodríguez–Reyes v. Molina–Rodríguez, 711 F.3d 49, 55 (1st Cir. 2013)

(quoting Twombly, 550 U.S. at 569 n. 14). Although a pro se plaintiff’s complaint is subject

to “less stringent standards than formal pleadings drafted by lawyers,” Haines v. Kerner, 404

U.S. 519, 520 (1972), the complaint may not consist entirely of “conclusory allegations that

merely parrot the relevant legal standard,” Young v. Wells Fargo, N.A., 717 F.3d 224, 231

(1st Cir. 2013). See also Ferranti v. Moran, 618 F.2d 888, 890 (1st Cir. 1980) (explaining

that the liberal standard applied to the pleadings of pro se plaintiffs “is not to say that pro se

plaintiffs are not required to plead basic facts sufficient to state a claim”).

        In his filing, Plaintiff has failed to allege any facts that would support a claim against

the jail. In fact, Plaintiff’s principal concern appears to be the events that occurred prior to

his arrival at the jail.1 Accordingly, Plaintiff has not alleged an actionable claim.


1To the extent Plaintiff intended to assert a claim against a person or entity other than the jail, Plaintiff has not
sufficiently identified the person or entity, nor has he alleged any facts that would support a claim against any
other person or entity.

                                                         2
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                                       CONCLUSION

      Based on the foregoing analysis, after a review in accordance with 28 U.S.C. § 1915A,

I recommend the Court dismiss Plaintiff’s complaint.


                                         NOTICE

         A party may file objections to those specified portions of a magistrate
      judge’s report or proposed findings or recommended decisions entered
      pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
      court is sought, together with a supporting memorandum, within fourteen (14)
      days of being served with a copy thereof.

         Failure to file a timely objection shall constitute a waiver of the right to de
      novo review by the district court and to appeal the district court’s order.

                                                  /s/ John C. Nivison
                                                  U.S. Magistrate Judge

Dated this 8th day of November, 2018.




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